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                                                  Joshua           480-3 Attorney
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                                                                                                  EDUCATION
                                                                                                  Indiana University
                                                                                                  School of Law-
                                                                                                  Bloomington, J.D.,
                                                                                                  1988
                                                                                                  Wabash College,
                                                                                                  B.A., 1985


                                                                                                  BAR ADMISSIONS
                                                                                                  Indiana
 A skilled and highly accomplished former U.S. Attorney,y Josh Minkler
 effectively counsels and defends his clients in white collar criminal                            COURT ADMISSIONS
 law matters and government investigations. His trial and appeals
                                                                                                  U.S. District Court for
 experience is second only to his stellar reputation as a dedicated,
                                                                                                  the Southern District
 straightforward and meticulous practitioner.                                                     of Indiana

 Josh focuses his practice on white collar criminal defense, compliance,                          U.S. Court of Appeals
                                                                                                  for the Seventh Circuit
 internal investigations, and -complex business litigation. He insists on
 clarity in communication – with his clients and colleagues, as well as with
 agencies and judicial officials
                        f        – so that there is unified understanding as to                   LANGUAGES
 the goal at hand and the direction to achieve that goal.                                         English

 He represents individuals and corporate entities at virtually every stage of
                                                                                                  PRACTICES
 the criminal defense process, handling parallel civil and administrative
 litigation, grand jury subpoenas, multijurisdictional matters, and                               Financial and
 congressional and agency inquiries. Josh advises clients on cases                                Regulatory Litigation
 involving the False Claims Act (FCA), and healthcare fraud, among others,                        Litigation
 from onset through settlement, trial and appeal. He has represented                              White Collar and
 healthcare systems and facilities in investigations conducted by federal                         Investigations
 agencies, the Indiana Attorney General, and the U.S. Health and Human
 Services Office
            f    of Inspector General.
                                                                                                  INDUSTRIES
 Most recently, Josh was the U.S. Attorney for the Southern District of
                                                                                                  Fraud and Abuse
 Indiana, responsible for setting, communicating and implementing federal                         Compliance and
 law enforcement priorities and prosecuting federal crimes. He was with the                       Defense
 U.S. Department of Justice (DOJ) for 26 years, a good deal of those
                                                                                                  Healthcare
 focusing on violations of federal laws involving public corruption and public
 integrity, such as drug trafficking,
                            f         money laundering, and firearms offfenses.                   Hospitals and
                                                                                                  Healthcare Facilities
 Critically, during this time, Josh led massive federal investigations, where
 he managed internal groups of attorneys and the entire process.




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                                                  Joshua           480-3 Attorney
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 As U.S. Attorney, Josh supervised significant cyber-crimes investigations
 and data breaches. Since joining Barnes & Thornburg, Josh has
 represented and advised clients interacting with the FBI Cyber-Crimes
 Division on cyber thefts and data breaches.

 As a federal prosecutor, Josh tried more than 20 cases before juries in the
 Southern District of Indiana and prepared and argued dozens of appeals in
 the U.S. Court of Appeals for the Seventh Circuit

 While with the DOJ, Josh regularly interacted with the heads of federal
 agencies including, but not limited to, the Federal Bureau of Investigation
 (FBI), the Internal Revenue Service – Criminal Investigations Division (IRS-
 CID), the Department of Health and Human Services – Officef     of the
 Inspector General (HHS-OIG), and the Securities and Exchange
 Commission (SEC).

 Josh is a relationship builder who makes it a priority to get to know his
 clients and then work diligently to understand what is most important to
 them so he can leverage his extensive knowledge and skills to help them.
 He strives to alleviate and curtail their criminal exposure by offering
                                                                 f
 practical guidance and counsel when crafting strategies to defend against
 such proceedings. With an intricate knowledge of federal agencies and the
 law, Josh brings his passion for justice and the legal process to serving his
 clients as they face complex investigations and criminal charges.

 Before joining the U.S. Attorney’s office
                                     f      in Indianapolis, Josh was an
 assistant prosecuting attorney in the Office
                                          f     of the Kent County Prosecuting
 Attorney in Michigan.

 Professional and Community Involvement

 Former co-chair, U.S. Department of Justice Domestic T
                                                      Terrorism Executive
 Committee

 Former member, U.S. Department of Justice Domestic T
                                                    Terrorism Working
 Group

 Former member, U.S. Department of Justice Attorney General Advisory
 Committee

 Former co-chair, U.S. Department of Justice Child Exploitation and
 Obscenity Working Group

 Former member, U.S. Department of Justice T
                                           Terrorism and National
 Security Subcommittee

 Former member, U.S. Department of Justice Violent and Organized Crime
 Subcommittee

 Honors

 The Best Lawyers in America, 2024-2025

 Chambers USA, 2023-2024

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                                                 Joshua           480-3 Attorney
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 Honorary Chief of Police A
                          Award, Indianapolis Metropolitan Police
 Department, 2015

 Patriotic Employer A
                    Award, Offfice of the Secretary of the Department of
 Defense, 2012

 Certificate of Appreciation and Recognition, Federal Bureau of
 Investigation, Commendation, 2008-2009

 Outstanding Organized Crime Drug Enforcement T
                                              Task Force Case, Great
 Lakes Region, Department of Justice, 2007

 Certificate of Appreciation and Recognition, U.S. Drug Enforcement
 Administration, 2006

 Certificate of Appreciation, United States Postal Inspection Service, 2004

 Integrity A
           Award, Department of Health and Human Services, Offfice of
 Inspector General, 2003

 Commendation and Recognition, Federal Bureau of Investigation, 2000

 Special Achievement A
                     Award, U.S. Department of Justice, 1999

 Commendation and Recognition, U.S. Customs Service, Office
                                                      f     of
 Investigations, 1999

 Certificate of Commendation, Indianapolis Police Department, 1998

 Certificate of Appreciation and Recognition, Department of Treasury,
 Bureau of Alcohol, T
                    Tobacco and Firearms, 1998




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